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                            UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
Bree McCleskey                                        §
                                                      §
vs.                                                   §     NO: AU:20-CV-00166-RP
                                                      §
Tolteca Enterprises, Inc.                             §

                                                  ORDER


        The Court hereby sets and directs the parties, or counsel acting on their behalf, to appear by
phone for an initial pretrial conference on June 30, 2020 at 09:10 AM . Counsel for Plaintiff shall
be responsible for coordinating the call and providing dial-in information at least 24 hours prior to
the hearing to opposing counsel and to the Courtroom Deputy at julie_golden@txwd.uscourts.gov.
The parties should be prepared to discuss potential trial settings as the Court intends to set a trial
date in this action at the initial pretrial conference.


        If either party would prefer for the conference to be held in person, counsel should
contact the Courtroom Deputy as soon as possible in order to set a new date.



                 SIGNED on 9th day of June, 2020.



                                                          ______________________________
                                                          ROBERT PITMAN
                                                          UNITED STATES DISTRICT JUDGE
